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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------X

UNITED STATES OF AMERICA,                                    14 Cr. 68 (KBF)

                                   Plaintiff,                DECLARATION OF PAUL
                                                             GRANT IN SUPPORT OF
                                                             PETITION FOR REHEARING
                                                             RE MOTION FOR RECUSAL
                             -v-

ROSS WILLIAM ULBRICHT,

                                   Defendant.

----------------------------------------------------X

        I, Paul Grant, pursuant to 28 U.S.C. ' 1746, hereby affirm under penalty of perjury:

I am an attorney licensed in the State of Colorado and I am admitted pro hac vice in this case for

purposes of my representation of Ross Ulbricht in this matter. I state the following to be true:

1. I have thoroughly reviewed the public docket in the case of United States v. Ross Ulbricht,

Case No. 14 Cr. 68 (KBF), and my statements in the Motion for Recusal were made upon the

basis of what I have seen in documents available in the public docket, what I have seen in

hearing and trial transcripts in the public docket, and on information provided to me by Mr.

Ulbricht=s trial counsel, Joshua L. Dratel.

2. My statements in the Motion for Recusal were also based on my review of the juror

questionnaires, which were provided to me by trial counsel. I am now informed that the juror

questionnaires that I reviewed are sealed documents.

3. My Declaration in Support of the Motion for Recusal, therefore, incorrectly stated that I had


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not reviewed any sealed documents. See Doc. 302.

4. Based on my review of the sealed juror questionnaire materials available to me, I can state

that defense counsel was provided with the names of the prospective jurors, and with their city of

residence, but defense counsel was not provided with any juror addresses.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and belief.

Executed this 20th day of February, 2018.


                                             /s/ Paul Grant
                                             Paul Grant




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